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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 15-00109JVS(AGRx)                                                  Date     October 21, 2019
 Title             Lafonzo R Turner v Matthew Cates, et al



 Present: The                    James V. Selna, US District Court Judge
 Honorable
                         Lisa Bredahl                                                 Sharon Seffens
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                       Nicolette Glazer                                           Christopher Hill
 Proceedings:           Scheduling Conference

        Cause called and counsel make their appearances. The Court and counsel confer.                    The Court
sets the case management dates with the agreement of counsel as follows:

                            Jury Trial                              June 16, 2020 at 8:30 a.m.
                              File Findings of Fact and Conclusions of Law by June 9, 2020
                            Final PreTrial Conference               June 1, 2020 at 11:00 a.m.
                              File PreTrial Documents not later than May 26, 2020
                              File motions in limine not later than May 4, 2020
                            Discovery Cut-off                       March 30, 2020
                            Expert Discovery Cut-off                May 29, 2020
                              Initial disclosure of Experts not later than May 1, 2020
                              Rebuttal disclosure of Experts not later than May 15, 2020
                            Law and Motion Cut-off                  April 27, 2020 at 1:30 p.m.
                               Motions to be filed and served not later than March 30, 2020
                            Interim Status Conference               January 14, 2020 at 10:30 a.m.

        Counsel shall hold a further settlement conference with Judge Bianchini. The Court orders that
any settlement discussions shall be completed not later than March 30, 2020. Counsel shall file a Joint
Report of the parties regarding outcome of settlement discussions, the likelihood of possible further
discussions and any help the Court may provide with regard to settlement negotiations not later than
seven (7) days after the settlement conference.

cc: ADR
                                                                                                  0       :     05

                                                               Initials of Preparer         lmb




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